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    EXHIBIT “E”
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From:                 Stephen Kosciolek <skosciol@research.stevens.edu>
Sent:                 Wednesday, March 16, 2022 10:29 AM
To:                   mjjohnson intermodalholding.com
Subject:              RE: Followup from our phone call


No, nothing needs to be noted, since this is the only intermodal holdings payment we will be receiving. If you can easily
add a comment, the invoice number is appreciated for easy application (2103143.2600008‐1).

I just realized I never replied to this, sorry about that. I was just following up to find out if the funds were transferred?

Thanks,

 Steve



From: mjjohnson intermodalholding.com <mjjohnson@intermodalholding.com>
Sent: Friday, March 11, 2022 12:47 PM
To: Stephen Kosciolek <skosciol@research.stevens.edu>
Subject: Re: Followup from our phone call

Steve, Does any additional info need to be "noted" on/with the ACH? ~MJ

From: Stephen Kosciolek <skosciol@research.stevens.edu>
Sent: Friday, March 11, 2022 12:39
To: mjjohnson intermodalholding.com <mjjohnson@intermodalholding.com>
Subject: RE: Followup from our phone call

MJ,

See attached. Let me know if you have any questions.

Have a good weekend,

 Steve



From: mjjohnson intermodalholding.com <mjjohnson@intermodalholding.com>
Sent: Friday, March 11, 2022 12:35 PM
To: Stephen Kosciolek <skosciol@research.stevens.edu>
Subject: Re: Followup from our phone call

Steve,

Please provide the ACH information. I will provide an update on Monday as to the expected transfer.

Have a good weekend,
MJ

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From: Stephen Kosciolek <skosciol@research.stevens.edu>
Sent: Friday, March 4, 2022 09:31
To: mjjohnson intermodalholding.com <mjjohnson@intermodalholding.com>
Subject: Followup from our phone call

MJ,

Thank you for talking with me last week. I wanted to make sure my understanding of our conversation matched yours.

Your board has approved the payment of the invoice, with a first payment on the 15th, and a final release on the 30th of
march.

You said you were going to get back to me once you knew the amount of the first payment. If you have an update,
please let me know how much to expect for the first payment. Additionally, will you be mailing a check, or do you need
ACH information to transfer the funds to us?

Thanks,

 Steve


Stephen Kosciolek
Director
Office of Sponsored Accounting and Cost Analysis
T 201 216 3496
STEVENS INSTITUTE OF TECHNOLOGY
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